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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION

  Gilberto Rodriguez CHAVERRA,                    )
  as the Administrator of the Estate of Jeancarlo )
  Alfonso Jimenez Joseph,                         )
                                                  )
  Nerina Joseph, as Mother and Next-of-Kin of )
  Jeancarlo Alfonso Jimenez Joseph,               )
                                                  )              Civil Action No.: 4:19-cv-81
         Plaintiffs,                              )
                                                  )              Judge Clay Land
  v.                                              )
                                                  )
  UNITED STATES OF AMERICA,                       )
                                                  )
          Defendant.                              )




                                      NOTICE OF SETTLEMENT

        The parties have reached a tentative agreement to resolve the claims and defenses in this

matter, contingent upon approval by the U.S. Department of Homeland Security, Immigration and

Customs Enforcement, and the Acting United States Attorney for the Middle District of Georgia.

        The parties therefore seek a mutual stay of all deadlines in this case for a period of sixty (60)

days. This will allow the parties to secure authorization, finalize payment, and submit a Notice of

Dismissal. The parties agree that if this process is not completed and no dismissal is filed by April 24,

2021, either party may seek to lift the stay and modify the Scheduling Order.

Date: February 25, 2021                           Respectfully submitted,

                                                  /s/ R. Andrew Free*
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                                                 *Admitted pro hac vice


                                       Certificate of Service

       I hereby certify that on this February 25, 2021, I have served counsel for all parties with a

copy of the foregoing via this Court’s CM/ECF system.

                                                 /s/ R. Andrew Free
                                                 R. ANDREW FREE, No. 30513




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